                                                         SIGNED.


                                                          Dated: July 7, 2020


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                                                         _________________________________
  2                                                      Paul Sala, Bankruptcy Judge


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  7
                         UNITED STATES BANKRUPTCY COURT
  8
                               FOR THE DISTRICT OF ARIZONA
  9
      In re:                                     Chapter 13
 10
      Renell D. Williams and                     No. 2:20-bk-06619-PS
 11   Latressa D. Williams,

 12              Debtors.
    Mechanics Bank, a California banking
 13 corporation,
                                                 ORDER ON MOTION FOR RELIEF
 14                Movant,                       FROM THE AUTOMATIC STAY
      vs.
 15
    Renell D. Williams and                       Re: 2016 Ram
 16 Latressa D. Williams, Debtors, and
    Edward J. Maney, Trustee,
 17
                  Respondents.
 18
           Mechanics Bank, a California banking corporation (hereinafter “Mechanics”) filed
 19
    its Motion for Relief from the Automatic Stay (the “Motion”) on June 18, 2020. The
 20
    Motion and notice thereof were served on June 18, 2020, pursuant to Local Rule 4001-1.
 21
    No timely objections having been filed. A Certificate of Service and No objection has
 22
    been filed pursuant to Local Rule 4001-1(f). Good cause appearing;
 23
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  1         IT IS HEREBY ORDERED terminating the automatic stay of 11 U.S.C. §362(a)

  2 as it is applicable to the debtor, with respect to the following described personal property

  3 (the “Collateral”):

  4                2016 Ram

  5                VIN: 1C6RR7LTXGS224166.

  6         IT IS FURTHER ORDERED relieving Mechanics from the automatic stay of 11

  7 U.S.C. §362(a) as to the bankruptcy estate.

  8         IT IS FURTHER ORDERED that Mechanics may file an amended proof of claim

  9 for any deficiency balance within 30 days of disposition of the Collateral or by the claims

 10 bar date, whichever is later.

 11                SIGNED AND DATED ABOVE.

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